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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NARRAGANSETT INDIAN TRIBE,
ACTING BY AND THROUGH THE
NARRAGANSETT INDIAN TRIBAL
HISTORIC PRESERVATION OFFICE

       Plaintiff,
       v.                                                    C.A. No.

STEPHANIE POLLACK, in her
official capacity as Acting Administrator of the
FEDERAL HIGHWAY ADMINISTRATION

and

STATE OF RHODE ISLAND
AND AGENCIES, INCLUDING THE
RHODE ISLAND DEPARTMENT
OF TRANSPORTATION

and

CLAIRE RICHARDS, individually
(Executive Counsel at Rhode Island
Office of the Governor)

       Defendants,



                                          COMPLAINT

       NOW COMES Plaintiff Narragansett Indian Tribe, acting by and through the Narragansett

Indian Tribal Historic Preservation Office (hereafter the “Tribe” or “NIT”), files this Complaint

against The Federal Highway Administration (“FHWA”), State of Rhode Island and agencies

including The Rhode Island Department of Transportation, and Claire Richards, individually.

Pursuant to Local Court Rules LCvR 40.5(a)(4) this is a related case. This Complaint involves the

same parties and claims filed in a prior case dismissed without prejudice. The original Complaint

was transferred from the US District Court of Rhode Island to this Court by Memorandum and

Order dated January 7, 2020, ECF docket no. 23, Case no. 20-576 (RC). The original Complaint
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was amended to add the State Defendants, and the Amended Complaint, regarding both Federal

and State defendants, was dismissed without prejudice by this Court on March 15, 2022. (EFC

Doc no. 74).

       The Court ordered the Plaintiff to address claims against the Federal Defendant on

Summary Judgment. (February 24, 2021, Minute Order). And by Minute Order issued May 19,

2021, the Court stated the pending Motion to Dismiss the claims against the State of Rhode Island

would not impact the issues to be briefed against the Federal Defendant on Summary Judgment.

This Complaint addresses the Court’s jurisdictional concerns against both Federal and State

Defendants and explains why adding other parties does not undermine the claims against the

Federal Defendant that has a statutory obligation to comply with the National Historic

Preservation Act (“NHPA” or “the ACT”). State parties were added to highlight facts in the record

that show the Federal Defendant arbitrarily reversed prior decisions and failed to follow

regulations that require sufficient and enforceable mitigation measures that prevent adverse effects

to historic properties. Adding State parties ensures that documents pertaining to the Federal

Defendant’s decision to terminate the fully executed first programmatic agreement (“PA”) and

exclude the Plaintiff from consultations on the second PA are part of the record in the case.

Actions by an individual employed by the State as alleged in this Complaint did not prevent the

Federal Defendant, FHWA, from enforcing the agreed upon mitigation measures or from

consulting with the Tribal Plaintiff to develop sufficient alternative mitigation measures that

prevent adverse effects. The record will show that instead of continuing to withhold highway

funding from the State for failing to execute the first PA, the FHWA took deliberate actions that

resulted in arbitrary and capricious agency decisions that led to noncompliance with the ACT.

                                        INTRODUCTION

       1.       The Plaintiff Tribe brings this action to challenge the termination of a PA entered

   pursuant to the regulations of the NHPA and the subsequent attempt by the FHWA to form a
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second PA containing inadequate mitigation measures without consulting with the Tribe or

involving the Tribe as stakeholders as required by 36 C.F.R. § 800.14(f). The termination of

the first PA occurred after substantial construction had taken place on the project for which the

first PA was meant to address and to resolve the adverse effects of the project on historic

properties (“the Viaduct Project”) to the signatory stakeholders’ satisfaction. Additionally, the

FHWA did not give an adequate response to the Advisory Council on Historic Preservation’s

(“ACHP”) comments as required by 36 C.F.R. § 800.7(c)(4). The termination of the first PA

after substantial work had been performed on the project, and the subsequent final decision of

the FHWA was arbitrary and capricious. After funding had been given to the state and

construction had begun on the project, the FHWA attempted to create a second PA without

adequate consultation with the Tribe and avoided making the Tribe signatory stakeholders like

they were under the first PA. The second PA also did not contain adequate mitigation for

damages to historic tribal property required by the NHPA’s Section 106 process. The attempt

to form a second PA without tribal consultation by the FHWA was arbitrary and capricious

agency action.

   2.      The Tribe also brings this action against the State of Rhode Island and agencies,

including Claire Richards in her individual capacity as the Executive Counsel to the Governor

of Rhode Island because of her involvement as a representative of the state in encouraging the

FHWA to reverse its decision to withhold highway funding to the state and terminate the first

PA. She then participated in the negotiations of the second PA that excluded the Tribe as a

stakeholder and determined new mitigation measures without adequately consulting with the

Tribe. Her communications pressured the FHWA to continue funding the State’s Viaduct

Project and to exclude the tribe from future negotiations that resulted in the FHWA’s disregard

for federal law that denied the Tribe’s rights as a sovereign Indian nation.



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                                    JURISDICTION

   3.      This court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C. §

1331 (Federal Question), 28 U.S.C. § 1362 (Jurisdiction Over Indian Tribes), and 28 U.S.C.

§§ 2201-2202 (Declaratory Judgment and Injunctive Relief).

   4.      The Administrative Procedure Act (“APA”) provides a waiver of sovereign

immunity as well as a cause of action against the FHWA, 5 U.S.C. § 702.

   5.      This court has subject matter jurisdiction over Claire Richards, the State of Rhode

Island’s Executive Counsel to the Governor, through 28 U.S.C. § 1331 (Federal Question)

because she conspired with the FHWA to violate federal law and her actions therefore are not

considered actions of the state protected by the state’s sovereign immunity. See Ex parte

Young, 209 U.S. 123, 28 S.Ct.441 (1908). The Ex parte Young doctrine was affirmed in Vann

v. Kempthorne when the court found that enjoining state officials from violating federal law

was not barred by sovereign immunity. See Vann v. Kempthorne, 383 U.S. App. D.C. 14, 22

(2008). The Court has subject matter jurisdiction through 28 U.S.C. § 1331 (Federal Question)

because Claire Richards violated federal law, and she cannot claim sovereign immunity

because of the Ex parte Young doctrine.

                                       STANDING

   6.      The APA affords a right of review to anyone who is “adversely affected or

aggrieved by agency action.” 5 U.S.C § 702. FHWA’s (the Federal Defendant) termination of

the first PA and subsequent attempted formation of the second PA, removing the Tribe as a

stakeholder and failing to seek adequate tribal consultation, has adversely affected the Tribe’s

historic properties. These actions by the FHWA failed to mitigate adverse effects to the Tribe’s

historical site as required by the NHPA Section 106 regulations. The FHWA, by failing to

comply with the NHPA, is responsible for these injuries. Federal undertakings that have

adverse effects on historic properties must follow the Section 106 process.

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   7.      The relief requested will redress these injuries by issuing a judgment requiring the

FHWA to either enforce the first PA or include the Tribe in consultations to mitigate the

damages to the historic Tribal properties.

   8.      The Tribe suffered a two-pronged injury-in-fact upon the termination of the first

PA because the FHWA frustrated reliance interests the Tribe had in properties that were part

of the first PA and did not adequately mitigate damage to tribal historic properties that were of

major historical significance to the Tribe. The Tribe reallocated $450,000 in funding from the

Crandall Farm Transportation Enhancement Project and $446,250 in funding from a U.S. Fish

and Wildlife Congressional grant towards the acquisition of tribal properties as per the first

PA. In addition, a tribal member sold to the State of Rhode Island what is known as the Chief

Sachem Night Hawk property based on the representation by the FHWA that the property (long

held in fee by the family of the Tribal member) would later be transferred to the tribe under

the terms of the first PA. FHWA’s termination of the first PA frustrated these reliance interests

and created a lack of adequate mitigation for the damage to the historic tribal properties (the

Viaduct properties). Furthermore, when the first PA was terminated, the funds allocated from

the two grants were not returned to the Tribe. Instead, both grants were returned to the

respective granting parties, creating a $896,250 loss in funding to the Tribe.

   9.      The Tribe suffered procedural injury-in-fact because of the first PA due to the

failure of the FHWA to follow the regulations under the Section 106 process. FHWA did not

provide a proper summary of its reasoning for the termination of the first PA (to all consulting

parties and the public) that satisfied the requirements of 36 C.F.R. § 800.7(c)(4). The FHWA

failed to explain its decision to discontinue enforcing the first PA. The FHWA could have

withheld funds to the state to facilitate the enforcement of the first PA as recommended by

ACHP in its comments, but the FHWA did not. Thus, the June 28, 2018, notice by the FHWA

did not satisfy the requirements of 36 C.F.R. § 800.7(c)(4) because it did not adequately
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provide a rationale for the termination of the first agreement or address the ACHP’s comments

and recommendations.

   10.     The Tribe suffered procedural injury-in-fact because of the second PA due to the

failure of the FHWA to consult them as the historic tribe. 36 C.F.R. § 800.14(f). The FHWA

formed the second PA without the “appropriate government-to-government consultation” with

the historic Tribe affected by the damage caused by the Viaduct Project. 36 C.F.R. § 800.14(f).

   11.     The procedural injuries alleged here adversely affected concrete interests of the

Plaintiff that were protected by the regulatory procedures of Section 106. When claiming a

procedural injury, the party must also assert a concrete interest, not just a pure violation of

procedure. See Campaign Legal Ctr. v. FEC, 860 F. App'x 1, 4 (D.C. Cir. 2021). In this case,

the FHWA’s inadequate reasoning for the termination of the first PA and failure to address the

ACHP’s recommendation that the tribe was the appropriate party to ensure the preservation of

the properties mentioned in the PA affected concrete interests of the tribe. In FHWA’s attempt

to create a second PA, the omission of the Tribe as a stakeholder and FHWA’s failure to

adequately consult with the Tribe resulted in unmitigated damage to the Viaduct properties

affecting concrete interests of the Tribe. Therefore, damage to the tribal historic properties is

both quantifiable and identifiable.

   12.     The standing elements of causation and redressability have different requirements

in cases involving procedural rights, and the Tribe asserts multiple procedural rights. As the

Supreme Court explained in Lujan v. Defs. of Wildlife, “[t]he person who has been accorded a

procedural right . . . can assert that right without meeting all the normal standards for

redressability and immediacy.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 572 n.7 (1992). In

Massachusetts v. EPA, the court established a different requirement in procedural rights cases:

the requested relief should prompt the injury-causing party to reconsider the decision that

caused the injury. See Massachusetts v. EPA, 549 U.S. 497, 518 (2007). In the present case,
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the lack of provided reasoning for the termination of the first PA and the lack of consultation

with the Tribe during the attempt to create a second PA resulted in inadequate mitigation. The

FHWA’s termination of the first PA without providing adequate reasoning, if revisited by the

Agency, could result in the reinstatement of the first PA. If the Tribe were adequately consulted

on the second PA, it could result in alternative mitigation measures that would adequately

address harm to the historic, tribal properties. In both cases, FHWA’s actions and decisions

should be revisited and made to comply with the NHPA. By complying with the NHPA,

FHWA would have to reconsider both injury-causing decisions, which satisfies the

requirements of Massachusetts v. EPA. Id.

   13.     The standing element of causation is satisfied in this case because the FHWA

caused the procedural injuries through its failure to mitigate the damage to the historic, tribal

properties. The injuries-in-fact are all results of the actions of the FHWA that failed to comply

with the requirements of the NHPA. The FHWA’s violations of the NHPA were not contingent

on the actions of the State of Rhode Island. As ACHP commented, the FHWA had tools

available to enforce the first PA. In fact, the FHWA withheld funding on the Viaduct Project

when the State refused to honor the executed agreement. Then, the FHWA arbitrarily reversed

its decision to withhold funding from the state after it accepted the tribal grant funding for the

purchase of those properties. Continuing to withhold funding from the state was reasonable,

feasible, and viable, and it would have ensured the eventual transfer of the properties subject

to the PA and honored the reliance interest of the Tribe. The grant funding was never returned

to the Tribe.

   14.     The court in Nat’l Wrestling Coaches Ass’n v. Dep’t of Educ. applied a heightened

standard for establishing standing where causation and redressability rely on the actions of a

third party. Nat’l Wrestling Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930, 938 (D.C. Cir.

2004). When the government regulates third-party action and there is a causal relationship
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between the government regulation and third-party conduct, the court has noted that plaintiffs

have standing to challenge those government actions. See id at 941 (citing Tozzi v. HHS, 350

U.S. App. D.C. 40 (2001)). The FHWA was directly responsible for compliance with the

NHPA and the administration of funds, and the FHWA could not release funds for the Viaduct

project without a mitigation agreement that was agreed to by all stakeholders, including the

State. Therefore, FHWA had a causal relationship with the State that obligated the state, as a

stakeholder, to follow federal law and comply with its executed PA or, if the State did not

comply, the FHWA was obligated to enforce the PA or to create another agreement that

adequately mitigated the project. Here, FHWA cannot use the State as an excuse for violating

the executed PA since, instead of using its authority to enforce the executed agreement, it

reversed its position and attempted to create a second PA, excluding the tribe as a stakeholder

and failing to adequately consult with the Tribe.

   15.      The standing element of redressability in this case is satisfied because the Court’s

declaration that the FHWA comply with the NHPA would result in either the reinstatement of

the first PA or the creation of a second PA with adequate alternative mitigation measures.

   16.      The harm caused by the FHWA also falls within the “zone of interest” protected by

the NHPA. “The zone of interests test consists of a two-part inquiry: first, determining which

interests the statute at issue arguably protects and second, determining whether the agency

action affects those interests.” Pye v. United States, 269 F.3d 459, 470 (4th Cir. 2001). In this

case, the NHPA is the statute at issue, so the relevant interests the statute protects is preventing

the destruction and damage to historic properties. See id. The NHPA protects the destruction

and damage to the Tribe’s historic properties that are at issue in this case. The agency action

directly affects those interests because both the first PA and the second PA were supposed to

mitigate the damages to the properties. However, when the FHWA decided to terminate the

agreement and then attempted to create a second PA, it failed to consult the tribe to adequately
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mitigate the adverse effects to historic properties.

                                  PERSONAL JURISDICTION

   17.       The court has personal jurisdiction over Claire Richards in the District of Columbia

under its long arm statute § 13–423(a)(1). Although the court has held that communications

with the District of Columbia do not independently establish specific jurisdiction, the court

considers communications an important factor in determining specific jurisdiction under § 13–

423(a)(1). See Associated Producers, Ltd. v. Vanderbilt Univ., 76 F. Supp. 3d 154, 165 (D.D.C.

2014) (finding that defendant had “transacted business” because there were communications

sent by the defendant and the business relationship had a “substantial connection” with the

District of Columbia); see also I Mark Mktg. Servs., LLC v. Geoplast S.p.A., 753 F. Supp. 2d

141, 156 (D.D.C. 2010) (holding that sending communications, sending wire transfers, and

being registered to do business in the District of Columbia established personal jurisdiction);

see also Johns v. Newsmax Media, Inc., 887 F. Supp. 2d 90, 98-99 (D.D.C. 2012) (holding that

sending communications, starting a business relationship, and sending payments established

personal jurisdiction). In the present case, Claire Richards, the Executive Counsel for the

Governor, was in contact with the FHWA, including agency personnel in Washington D.C.

The communication involved the negotiations about both the first and second PA with the

Tribe, FHWA, and the State of Rhode Island. She sent communications to agency personnel

in the District of Columbia that influenced the termination of the first PA and the mitigation

measures of the second PA. Because of the “substantial connection” between the District of

Columbia and the communications between Claire Richards and the FHWA, Claire Richards

is subject to personal jurisdiction in the District of Columbia under the long arm statute § 13–

423(a)(1).

   18.       The “government contacts” exception to § 13–423(a)(1) does not apply to the

contacts of Claire Richards because the “government contacts” exception only applies to

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contacts that involve First Amendment concerns. See Lex Tex, Ltd. v. Skillman, 579 A.2d 244,

249 (D.C. 1990). The court in Lex Tex, Ltd. v. Skillman noted that it “must thus determine

whether the defendants can assert a First Amendment interest . . . [before] permitting [an]

invocation of the "government contacts" [exception].” Id. First Amendment issues are not

related to the core issue and contact between Claire Richards and the District: the violation of

the NHPA. Furthermore, the contact between Claire Richards and FHWA was not a simple

contract negotiation, but rather a process to help both FHWA and Rhode Island comply with

the NHPA. Claire Richards emails to FHWA’s General Counsel, located in D.C., insisting that

the limited waiver of sovereign immunity was necessary to enforce the covenants, a claim

rebuffed by the FHWA at the time, were part of negotiations between FHWA and Rhode Island

over the PAs. Claire Richards contacts do not fall under the “government contacts” exception

because Claire Richards did not simply exchange information with the federal government or

petition the federal government for highway funds. Rather, Claire Richards worked directly

with the federal agency and its personnel located in Washington D.C. to encourage the FHWA

to continue funding the State highway project, instead of enforcing compliance with the

NHPA. Both Claire Richards and the FHWA were well aware of the NHPA regulations and

conspired to avoid compliance. However, it was the FHWA that took the final agency action

to terminate the first PA and exclude the Tribe from consultation.

    19.     The Eleventh Amendment does not provide sovereign immunity from suit to Claire

Richards because the Supreme Court created an exception to the Eleventh Amendment in Ex

parte Young that “[strips the official] of [their] official or representative character and [subjects

them] . . . to the consequences of [their] individual conduct.” Ex parte Young, 209 U.S. 123,

160 (1908). Courts have clarified the Ex parte Young decision and determined that state

officials may be sued for injunctive and comparative relief based on their official activities and

such suits are not barred by the Eleventh Amendment. See Cnty. Bd. of Arlington v. United

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States DOT, 705 F. Supp. 2d 25, 30 (D.D.C. 2010). Suits against state officials are not

considered suits against the state itself, but rather they are considered suits against officials in

their individual capacity. See West v. Holder, 60 F. Supp. 3d 190, 194 (D.D.C. 2014).

                                           VENUE

    20.     Venue is proper in this case under 28 U.S.C. § 1391(b). The FHWA violated the

NHPA. The violation occurred in the District of Columbia. Thus, a “substantial part” of the

events of this claim occurred in the District of Columbia. 28 U.S.C. § 1391(b).

    21.     The claim against Claire Richards is based on her communications with FHWA in

which she negotiated for the termination of the first PA by FHWA, unless the Tribe agreed to

waive sovereignty as to the properties. The termination of the first PA and lack of consultation

with the Tribe on the second PA led to insufficient mitigation under the NHPA Section 106

process. Thus, a “substantial part” of the events was in the District of Columbia. 28 U.S.C. §

1391(b).

                                            PARTIES

    22.     Plaintiff, The Narragansett Indian Tribe, by and through NITHPO, is the duly

created political entity responsible for historic preservation pursuant to the National Historic

Preservation Act, § 101(d)(2) Agreement between the National Park Service, U.S. Department

of Interior and the Narragansett Indian Tribe, dated August 7, 1996.

    23.     Defendant Stephanie Pollack in her official capacity as Acting Administrator of the

Federal Highway Administration (“FHWA”) represents an executive agency of the United

States.

    24.     Defendant State of Rhode Island and its Agencies, including the RIDOT, agreed to

cooperate with the FHWA and comply with both federal regulations and law when it received

federal funding. They further accepted responsibility for compliance with federal law and

regulations by voluntarily taking a lead role in drafting and negotiating the first and second
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PA.

   25.     Defendant Claire Richards, individually, Executive Counsel to the Rhode Island

Governor, communicated with Defendant FHWA on behalf of the State of Rhode Island and

encouraged the termination of the first PA and the exclusion of the Tribe from the negotiations

of the second PA, in violation of the NHPA, thereby acting without state authority.

                   NATIONAL HISTORIC PRESERVATION ACT

   26.     Congress enacted the NHPA, 54 U.S.C. §§ 300101 et seq., to preserve America’s

historic and cultural heritage. Congress declared that “the historical and cultural foundations

of the Nation should be preserved as a living part of our community life and development in

order to give a sense of orientation to the American people” and that “the preservation of [our]

irreplaceable heritage is in the public interest so that its vital legacy of cultural, educational,

esthetic, inspirational, economic, and energy benefits will be maintained and enriched for

future generations of Americans.” Section 1 of the National Historic Preservation Act, Pub. L.

No. 89-665, as amended by Pub. L. No. 96-515.

   27.     Section 106 of the NHPA requires all federal agencies to “take into account” the

impact of federal undertakings on historic properties.

   28.     Federal agencies are required to consult with Indian Tribes on a government-to-

government basis. Moreover, federal regulations provide that “the Federal Government has a

unique legal relationship with Indian tribes set forth in the Constitution of the United States,

treaties, statutes, and court decisions. Consultation with Indian tribes should be conducted in a

sensitive manner respectful of tribal sovereignty.” 36 C.F.R. § 800.2(c).

   29.     When an undertaking will adversely affect one or more historic properties, the

federal agency must engage in consultation to “develop and evaluate alternatives or

modifications to the undertaking that could avoid, minimize, or mitigate [those] adverse

effects.” 36 C.F.R. § 800.6.
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    30.      Decisions made regarding comments from the ACHP require that the agency making the

decision prepare “a summary of the decision that contains the rationale for the decision and evidence

of consideration of the Council's comments” as well as provide “a copy of the summary to all consulting

parties.” 36 C.F.R. § 800.7(c)(4).

                                 GENERAL ALLEGATIONS

    31.      FHWA has provided substantial funding for the replacement of the I-95 Providence

Viaduct Bridge No. 578 project in Providence, Rhode Island (the Viaduct Project), including

funding under Title 23 of the United States Code.

    32.      As a recipient of federal funds, including Title 23 funds, the Viaduct Project

qualifies as an “undertaking” pursuant to the NHPA.

    33.      Section 106 of the NHPA requires federal agencies to account for the effect of any

federal undertaking on any historic property protected by the NHPA before licensing or

expending funds for such undertaking. 54 U.S.C. § 306108.

    34.      FHWA determined that implementation of the Viaduct Project would result in

adverse effects on the Providence Covelands Archaeological District (RI 935).

    35.      The Tribe attaches religious and cultural significance to the Providence Covelands

Archaeological District (RI 935).

    36.      Instead of undergoing a Phase III archaeological data recovery program to mitigate

the effects of the Viaduct Project—because such a program would not have been feasible due

to environmental, logistical, and cost factors—FHWA developed the PA (“Programmatic

Agreement”) amongst itself, the Tribe, the Rhode Island State Historic Preservation Office

(“RISHPO”), and the Rhode Island Department of Transportation (“RIDOT”).

    37.      Upon information and belief, the actual costs of conducting a Phase III

archaeological data recovery program would have exceeded thirty million ($30,000,000)

dollars.

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   38.        Pursuant to 36 C.F.R. Part 800, governing Section 106 of the National Historic

Preservation Act of 1966, as amended, Plaintiff, Defendant, RIDOT, and RISHPO executed

the first PA, effective October 3, 2011, to govern the implementation of the Viaduct Project and

to account for the foreseen and unforeseen future effects of the Viaduct Project on historic

properties.

   39.        Pursuant to the first PA, FHWA, in coordination with RIDOT, agreed, inter alia,

to certain stipulations requiring the acquisition and transfer of land to Plaintiff, which

stipulations were amended on January 17, 2013, in Amendment No. 1 to the PA.

   40.        Stipulation 3 of the amended first PA requires “FHWA in coordination with RIDOT”

to acquire and transfer ownership of certain parcels of land to the Tribe, including: (a) the Salt

Pond Archaeological Preserve (RI 110), Town of Narragansett Tax Assessor's Plat W, Lot 81,

Lot 82/Subdivision Lots 27-79 and Lot 82/Subdivision Lots A (portion), B, C, E (portion), F,

G, H, I, J and K; (b) the so-called “Providence Boys Club - Camp Davis” property (a 105+/-

acre parcel), Town of Charlestown Tax Assessor's Plat 19, Lot 75; and (c) the so called “Chief

Sachem Night Hawk” property, located at 4553 South County Trail (Tax Assessor's Plat 22,

Lot 9-1) in the Town of Charlestown, Rhode Island (all three properties collectively referred

to as the “Mitigation Properties”).

   41.        The first PA provided that the Salt Pond Archaeological Preserve was to be

transferred to the Tribe as a joint owner with the State of Rhode Island.

   42.        Ownership of the Providence Boys Club – Camp Davis and Chief Sachem Night

Hawk properties was to be transferred solely to the Tribe with “[a]ppropiate covenants that

preserve the property and its cultural resources in perpetuity[.]”

   43.        To help facilitate the acquisition of the Salt Pond Archaeological Preserve, the

Tribe authorized the release of $446,250 to FHWA which was being held pursuant to an escrow

agreement with U.S. Fish and Wildlife and the Tribe.

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   44.     An additional $450,000 was re-allocated by FHWA and RIDOT from the Tribe’s

Crandall Farm Transportation Enhancement Project towards the costs of acquisition of the

Mitigation Properties.

   45.     The Mitigation Properties have inherently historic, cultural, and religious

significance to the Tribe.

   46.     The Chief Sachem Night Hawk property was actually acquired by RIDOT from a

Tribal member of the Plaintiff Tribe with the express understanding that the property would

then be transferred back to the Tribe as part of the first PA.

   47.     The first PA never required the Tribe to waive its sovereign immunity with respect

to the transfer of the Mitigation Properties.

   48.     Construction of the Viaduct Project began in June 2013.

   49.     Despite ongoing and continuous construction of the Viaduct Project, and in

violation of the executed PA, the RIDOT announced that it would not transfer the Providence

Boys Club – Camp Davis and Chief Sachem Night Hawk properties to the Tribe unless the

Tribe specifically waived its sovereign immunity with respect to those two properties and

entered into a covenant to subject the properties to the civil and criminal laws and jurisdiction

of the State of Rhode Island.

   50.     The RIDOT’s decision to seek a waiver of the Tribe’s sovereign immunity was at

the request of Claire Richards, the Executive Counsel to the Rhode Island Governor, and was

contrary to legal advice given by the General Counsel of FHWA that failure to implement the

first PA would be a violation of the NHPA.

   51.     On September 1, 2016, FHWA advised RIDOT that the failure to satisfy the “section

106 commitment to transfer these properties to the Tribe . . . stems from RIDOT’s insistence

that the Tribe waive its sovereign immunity as a prerequisite to transferring the property, a

requirement not included in the programmatic agreement[.]”

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   52.     Claire Richards in correspondence with FHWA disagreed with its opinion and

insisted that the State of Rhode Island would not agree to first PA without a waiver of the

Tribe’s sovereign immunity, thus insisting the Tribe disavow its status and federally

recognized sovereign Indian Nation.

   53.     The southbound lane of the Viaduct Project was completed and opened to traffic in

the Fall of 2016.

   54.     The construction of the southbound lane of the Viaduct Project through the

Providence Coveland District has resulted in damage to and despoliation of sites of historical,

cultural, and religious significance to the Tribe without any appropriate archaeological

investigation being conducted.

   55.     The despoliation of historically, culturally, and religiously significant sites is in

violation of the American Indian Religious Freedom Act, 42 U.S.C. § 1996.

   56.     FHWA, reversed its prior position that the State of Rhode Island was required to

transfer properties (Providence Boys Club – Camp Davis and Chief Sachem Night Hawk)

without a waiver of the Tribes Sovereign immunity and terminated the first PA on January 19,

2017

   57.     On May 3, 2017, the Advisory Council on Historic Preservation (“ACHP”) issued

comments to the FHWA regarding the termination of the first PA.

   58.     FHWA was required to account for the ACHP’s comments in making a final

decision on how to proceed with the undertaking.

   59.     The ACHP’s comments recommended that: (a) the Viaduct Project should not be

delayed; (b) the Salt Pond Archaeological Preserve should be preserved as agreed to in the first

PA; and (c) the Providence Boys Club – Camp Davis and Chief Sachem Night Hawk

properties should be transferred to the Tribe as sole owners, without covenants, without waiver

of sovereign immunity, but with the state retaining jurisdiction.

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   60.     On June 28, 2018, FHWA, “tak[ing] into consideration the [ACHP’s] comments

dated May 3, 2017” determined that it would “reinitiate Section 106 consultation for the project

and draft a new PA committing to the below mitigation items to address the known and

potential adverse effects to historic properties on the I-95 Viaduct Project in Rhode Island.”

   61.     The new mitigation items identified by FHWA were as follows: (a) transfer of the

Salt Pond Archaeological Preserve as contemplated by the first PA; and (b) in lieu of the land

transfers of the Providence Boys Club – Camp Davis and Chief Sachem Night Hawk

properties, implementation of an “academic-level historic context document about the Tribe;

Section 106 training provided to the Tribe; a video documentary about the Tribe; and a teaching

curriculum for Rhode Island public schools about the Tribe.”

   62.     The second PA, executed on September 18, 2019, was negotiated without the

Tribe’s consultation in violation of 36 C.F.R. § 800.14(f).

   63.     The June 28, 2018, determination by FHWA constitutes final agency action from

FHWA regarding the termination of the first PA.

   64.     The execution of the second PA on September 18, 2019, constitutes final agency

action from FHWA regarding the creation of the second PA.

   65.     The final action of FHWA has resulted in a complete failure to address and mitigate

the adverse effects of the Viaduct Project, including the destruction of the site that has resulted

from completion of the southbound lane of the Viaduct Project.

                                          COUNT I

                    (Violation of the Administrative Procedure Act)

   66.     The Tribe repeats, alleges, and incorporates the foregoing paragraphs as if fully set

forth herein.

   67.     The Tribe has been aggrieved by agency action under the Administrative Procedure

Act, 5 U.S.C. §§ 701 et seq.
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   68.     The first PA, entered into amongst the various parties, was intended by the parties to

address and mitigate the adverse effects of the Viaduct Project.

   69.     The termination of the first PA and the decision of the FHWA to reinitiate Section

106 consultation, while simultaneously dictating new mitigation items, fails to recognize that

the entire southbound lane of the Viaduct Project was constructed without its effects being

mitigated, and thus failed to comply with the section 106 process and in violation of the NHPA.

   70.     Similarly, expenditure of Title 23 funds on the southbound lanes without complying

with the NHPA and NEPA constitutes a violation of Title 23.

   71.     Furthermore, the decision of the FHWA to not address the ACHP’s comments in

its summary to terminate the first PA was in violation of 36 C.F.R. 800.7(c)(4).

   72.     FHWA’s decision to terminate the first PA, and simultaneously dictating new

proposed mitigation terms without consultation with the Tribe —was an arbitrary and capricious

final agency decision and in violation of 36 C.F.R. 800.14(f).

   73.     The final decision of the FHWA is in violation of the NHPA and its implementing

regulations in several respects, including:

           a. Permitting RIDOT to commence and complete construction of the entire

               southbound lane of the Viaduct Project without any mitigating measures for the

               adverse effects on the Providence Covelands Archaeological District (RI 935),

               nor completion of NHPA and NEPA;

           b. Failing to provide a rationale for the final decision or provide any evidence of

               consideration of the ACHP’s comments before issuing its final decision;

           c. Failing to enforce the first PA and facilitate the transfer of the mitigation

               properties contained in the PA before permitting RIDOT to commence and

               complete construction of the entire southbound portion of the Viaduct Project

               and to begin construction on the northbound portion of the Viaduct Project; and
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                 d. Attempting to impose new mitigation terms by creating a second PA without

                    consulting the Tribe or including the Tribe as a stakeholder.

         74.      The Defendant Claire Richards acting on behalf of the State of Rhode Island,

    encouraged the FHWA to disregard ACHP’s comments and terminate the first PA. She also

    encouraged the exclusion of the tribe as a stakeholder, or consulting party for the creation of

    new mitigation terms thus violating significant public policy that the NHPA was created to

    protect. Therefore, her bad actions conspiring to violate Federal Law waived the state’s

    sovereign immunity, and the state cannot now use the Eleventh Amendment protections to

    avoid compliance with federal law that requires consultation with the Tribe to ensure

    adequate mitigation of undertakings that have adverse effects on tribal historic properties.

    These communications between Claire Richards and the FHWA are part of the

    administrative record and should be produced to the Plaintiff and the Court.

                               PRAYER FOR RELIEF
          Against Defendant FHWA and Defendant Claire Richards on behalf of the
                                State of Rhode Island

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in its favor and

against Defendant FHWA and State Defendants and provide the following relief:

1. Declare that the Viaduct Project violates the NHPA and APA;

2. Declare that Defendant FHWA violated the NHPA by failing to address the adverse effects of

the Viaduct Project on historic property, including property of cultural and religious significance

to the Tribe;

3. Enjoin the Defendant FHWA from taking any action in furtherance of implementing the

Viaduct Project until Defendant come into compliance with the NHPA;

4. Declare Defendant Claire Richards actions that intentionally encouraged the termination of the

first PA and the exclusion of the tribe as a stakeholder or consulting party in the second PA,

violated the NHPA and APA, and thus waived of the state’s sovereign immunity.

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5. Enjoin the Defendant FHWA and State Defendants from taking any action to transfer or

facilitate the transfer of the Mitigation Properties contrary to the first PA;

6. For the failure of the Defendants to comply with the section 106 process of the NHPA and

adequately mitigate the adverse effects to historic properties award Plaintiff compensatory

damages of Thirty Million Dollars ($30,000,000) for the destruction of and damage of sites of

cultural and religious significance to the Tribe within the Providence Covelands Archaeological

District (RI 935);

7. Award Plaintiff their attorneys’ fees, costs, and expenses pursuant to the Equal Access to Justice

Act and the NHPA;

8. Award such other and further relief as the Court may deem just and proper.



                                              Respectfully submitted,

                                              NARRAGANSETT INDIAN TRIBE BY AND
                                              THROUGH THE NARRAGANSETT INDIAN
                                              TRIBAL HISTORIC PRESERVATION OFFICE

                                              By its Attorneys,

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                                               Dated August 3, 2022




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